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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA


UNITED STATES OF AMERICA                     *
                                             *
v.                                           *       Criminal No. 24-00114-TFM
                                             *
GERALD BILL CASTILLE                         *



                       PROPOSED VERDICT FORM: FORFEITURE


               We, the Jury, find the following property is subject to forfeiture to the United

      States for violations of the Title 21 offenses charged in Counts (list drug counts of

      conviction) of the Superseding Indictment:

      1.   Century Arms Romarm/Cugir Paratrooper (HC) rifle, Serial Number ROA 21PT-

      001178;

      ___ yes

      ___ no

      2.   Ruger 57 Pistol Serial Number 642-30096;

      ___ yes

      ___no

      3.   SCCY Industries Model CPx1 9MM pistol Serial Number C087824;
           ___ yes

           ___ no


      4.   Smith & Wesson Model SDVE pistol Serial Number FXZ9882;

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      ___ yes

      ___no

      5.   Smith & Wesson Model CSX 9MM pistol Serial Number SEA0248;

      ___ yes

      ___ no

      6.   Ruger 5.7X23 pistol, serial number 643-23025;

      ___ yes

      ___ no

      7. Romar/Cugir WASR-10, AK 47 rifle, serial number 1-78274-07;

      ___ yes

      ___no

      8. 2016 gray Kia Soul, VIN KNDJN2A29G7272744;

      ___ yes

      ___ no

      9. 2018 black Dodge Challenger, VIN 2C3CDZBT0JH297253;

      ___ yes

      ___no

      11. $1,050 in United States currency, more or less, seized from the residence of

GERALD BILL CASTILLE on Shan Drive in Mobile, Alabama on December 3 and 4, 2022;

      ___ yes

      ___no

      12. $8,000 in United States currency, more or less seized from the residence of

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GERALD BILL CASTILLE on Shan Drive in Mobile, Alabama on December 3 and 4, 2022;

      ___ yes

      ___no

      13. $800 in United States currency, more or less seized from GERALD BILL

CASTILLE on December 3 and 4, 2022;

      ___ yes

      ___ no

      16.   Seven miscellaneous gun magazines seized from the residence of GERALD BILL

CASTILLE on Shan Drive in Mobile, Alabama on December 3 and 4, 2022;

      ___ yes

      ___no

      17.   393 rounds of miscellaneous ammunition seized from the residence of GERALD

BILL CASTILLE on Shan Drive in Mobile, Alabama on December 3 and 4, 2022;

      ___ yes

      ___ no

      18.   Three boxes of miscellaneous ammunition seized from the residence of GERALD

      BILL CASTILLE on Shan Drive in Mobile, Alabama, on December 3 and 4, 2022;

      ___ yes

      ___no

               We, the Jury, find the following property is subject to forfeiture to the United

      States for violations of the Title 18 offenses charged in Counts (list gun counts of

      conviction) charged in the Superseding Indictment:


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      1.   Century Arms Romarm/Cugir Paratrooper (HC) rifle, Serial Number ROA 21PT-

      001178;

      ___ yes

      ___ no

      2.   Ruger 57 Pistol Serial Number 642-30096;

      ___ yes

      ___no

      3.   SCCY Industries Model CPx1 9MM pistol Serial Number C087824;
           ___ yes

           ___ no


      4.   Smith & Wesson Model SDVE pistol Serial Number FXZ9882;

      ___ yes

      ___no

      5.   Smith & Wesson Model CSX 9MM pistol Serial Number SEA0248;

      ___ yes

      ___ no

      6.   Ruger 5.7X23 pistol, serial number 643-23025;

      ___ yes

      ___ no

      7. Romar/Cugir WASR-10, AK 47 rifle, serial number 1-78274-07;

      ___ yes

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      ___no



      SO SAY WE ALL.

      Date:___________________        _______________________
                                            Foreperson




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